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                                                          July 27, 2023

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

         Re: United States v. Samuel Bankman-Fried, S5 22 Cr. 673 (LAK)

Dear Judge Kaplan:

        As discussed at the conference yesterday, the defense has provided the Court and the
Government copies of the documents shown to the New York Times reporter. In light of the
issues raised at the conference, we seek leave to file these documents under seal. For the reasons
discussed at the conference, the presumption of access to these documents is greatly outweighed
by the need to avoid their public dissemination at this time. See Lugosch v. Pyramid Co. of
Onandaga, 435 F.3d 110 (2d Cir. 2006).

                                                    Respectfully submitted,


                                                      /s/ Mark S. Cohen      .
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cc:   All counsel of record (via ECF)
